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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,

                     Plaintiff,                                  8:15CR343

      v.
                                                      MEMORANDUM AND ORDER
DIONTE DORTCH,

                     Defendant.


       This matter is before the court on the objection of the defendant, Filing No. 390,

to the magistrate judge’s finding and recommendation, Filing No. 360, recommending

that the defendant’s motion to dismiss, Filing No. 207, be denied.         Defendant also

objects, Filing No. 392, to the magistrate judge’s order, Filing No. 361, denying his

motion to sever and strike. In addition, defendant files an objection, Filing No. 394, to

the magistrate judge’s order, Filing No. 362, denying his motion for a bill of particulars.

The government replies and contends the reports and recommendations of the

magistrate judges should be adopted and affirmed and the objections overruled. Filing

Nos. 414, 416, and 417.

       Pursuant to 28 U.S.C. § 636(b)(1)(A), the court has conducted a de novo

determination of those portions of the F&R to which the defendants object. United

States v. Lothridge, 324 F. 3d 599, 600-01 (8th Cir. 2003). The court has reviewed the

entire record including the transcript of the suppression hearing. See Filing No. 318,

Transcript ("Tr."). The court accepts the facts set out in the F&R and they need not be

fully repeated here, except to the extent necessary to this court’s findings.

       DISCUSSION
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        A. MOTION TO DISMISS, FILING NO. 207

        The defendant sought dismissal of Count One of the Superseding Indictment for

failure to state an offense. As stated by the magistrate judge:

                On January 27, 2016, Dortch, Bahati, Arias, Haynie, Brandon
        Heard, and Kendell Tealer were charged in a 15-count Superseding
        Indictment with offenses arising out their alleged criminal activities in
        connection with the 40th and 44th Ave. Crips street gangs. (Filing No.
        33). Count One charges all six defendants with a conspiracy to violate the
        Racketeer Influenced and Corrupt Organizations Act (“RICO”), in violation
        of 18 U.S.C. 1962(d). The Superseding Indictment alleges that between
        2008 and 2015, the 40th Ave. and 44th Ave. Crips street gangs “cliqued
        up” to form an enterprise under 18 U.S.C. § 1961(4). The Superseding
        Indictment alleges the enterprise engaged in a pattern of racketeering
        activity under 18 U.S.C. § 1962(c), including acts of murder, attempted
        murder, witness tampering, and the manufacture and distribution of
        controlled substances.


Filing No. 360, at 1-2. See Superseding Indictment, Filing No. 33. Dortch contended

that the allegations in the indictment were insufficient to establish the existence of an

enterprise under 18 U.S.C. § 1962(d).       He likewise objects to the decision of the

magistrate judge, arguing that even if this court accepts the allegation of the indictment

as true, they do not constitution a RICO enterprise. The magistrate judge determined

that the Superseding Indictment sufficiently alleges the existence of a RICO enterprise.

The indictment tracked the statutory language, alleges common purposes, and

establishes the relationships among the associates connected with the enterprise. The

court is required to accept the allegations set forth in the Superseding Indictment as

true.   United States v. Steffen, 687 F.3d 1104, 1107 n.2 (8th Cir. 2012) (citations

omitted).The court finds the magistrate judge correctly analyzed both the facts and law.

Further, the court finds that Dortch’s objections regarding his enterprise arguments have


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previously been rejected by the Eighth Circuit. United States v. Nabors, 45 F.3d 238

(8th Cir. 1995). This court agrees with the conclusion of the magistrate judge and

adopts it in its entirety.

       B. MOTION TO SEVER AND STRIKE, Filing No. 392

       Defendant objects, Filing No. 392, to the magistrate’s order, Filing No. 361,

denial of his motion to sever and strike surplusage, Filing No. 205. Defendant asked

that his charges be severed from the other defendants charged in the RICO conspiracy.

The magistrate judge determined that the counts and parties are properly joined in

accordance with Fed. R. Crim. P. 8(a) and (b). As noted by the magistrate judge, each

defendant is charged with knowing participation, that the purposes and objectives of the

enterprise included financial support of its members, that the enterprise thought to

preserve its territory by use of threats, violence intimidation, murder and attempted

murder. The Superseding Indictment also states that each member would commit at

least two acts of racketeering activity. Thus, concluded the magistrate judge, and this

court agrees, these defendants are properly joined.

       Dortch also argues that the evidence against him is much less than the co-

defendants, as Dortch was in prison during part of the activities, nor was he identified as

part of the enterprise by the government’s confidential informant. However, as stated

by the magistrate judge:

       The Eighth Circuit has found that a properly joined co-defendant was “not
       entitled to severance simply because the evidence against him was less
       damaging than was the evidence against [his co-defendant].” Lewis, 557
       F.3d at 610-11. In doing so, the Eighth Circuit rejected the defendant’s
       argument that the jury was unable to compartmentalize the evidence
       because there was more evidence of one defendant’s guilt when
       compared to the co-defendant. See id.; see also United States v. Hively,

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       437 F.3d 752, 765 (8th Cir. 2006) (“Severance is never warranted simply
       because the evidence against one defendant is more damaging than that
       against another, even if the likelihood of the latter's acquittal is thereby
       decreased.”). When assessing the jury’s ability to compartmentalize the
       evidence against joint defendants, the court should take into consideration
       the complexity of the case and whether adequate jury instructions and
       admonitions can cure any potential prejudice. See Lewis, 557 F.3d at
       610.


Filing No. 361, at 6. The court agrees with the magistrate judge that any potential risk

of prejudice can be dealt with by jury instructions, and this case is best served by trying

these defendants together. See United States v. Mickelson, 378 F.3d 810, 818 (8th Cir.

2004) (“The risk of prejudice posed by joint trials is best cured by careful and thorough

jury instructions.”); United States v. Darden, 70 F.3d 1507, 1527-28 (8th Cir. 1995).

“Most importantly, however, justice is best served by trying the members of a

racketeering enterprise together because a joint trial ‘gives the jury the best perspective

on all the evidence and therefore increases the likelihood of a correct outcome.’” Id.

(quoting United States v. Buljubasic, 808 F.2d 1260, 1263 (7th Cir. 1987). As stated by

the Eighth Circuit:

       Severance is appropriate “only if there is a serious risk that joint trial would
       compromise a specific trial right of one of the defendants, or prevent the
       jury from making a reliable judgment about guilt or innocence.” Zafiro, 506
       U.S. at 539, 113 S.Ct. 933. It is not an abuse of discretion to deny a
       severance motion when not every joined defendant has participated in
       every offense charged, Delpit, 94 F.3d at 1143-44, when evidence which
       is admissible only against some defendants may be damaging to others,
       id., or when there is varying strength in the evidence against each
       defendant. United States v. Dierling, 131 F.3d 722, 734 (8th Cir.1997).

United States v. Lee, 374 F.3d 637, 646 (8th Cir. 2004).

       A joint trial is appropriate for those charged with conspiracy where proof of
       the charges is based on common evidence and acts. United States v.
       Stephenson, 924 F.2d 753, 761 (8th Cir.1991) (quoting United States v.

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      Jackson, 549 F.2d 517, 523 (8th Cir.1977)); see also United States v.
      Kindle, 925 F.2d 272, 277 (8th Cir.1991). Where there are multiple
      criminal acts in furtherance of a conspiracy, each defendant need not
      have participated in every act for a joint trial to be appropriate. Delpit, 94
      F.3d at 1143; United States v. Jones, 880 F.2d 55, 62–63 (8th Cir.1989).


Dierling, 131 F.3d at 734. For these reasons, the court finds the objections by the

defendant are overruled.

      C. MOTION FOR BILL OF PARTICULARS, FILING NO. 394

      Defendant moved for supplementation of Count One, including dates, times,

locations, drug quantities, and individuals involved in the overt acts as set forth in the

Superseding Indictment. “If a defendant believes that an indictment does not provide

enough information to prepare a defense, then he or she may move for a bill of

particulars.” United States v. Livingstone, 576 F.3d 881, 883 (8th Cir. 2009). A bill of

particulars is not a discovery device. United States v. Huggans, 650 F.3d 1210, 1220

(8th Cir. 2011).   The magistrate judge concluded that a bill of particulars is not

necessary in this case. He found that all elements as well as sufficient facts are plead

in the complaint. This court has likewise reviewed the Superseding Indictment and

relevant documents and concludes the magistrate judge is correct in all respects.



      THEREFORE, IT IS ORDERED THAT:

      1.     The defendant’s motion to dismiss Filing No. 207, is denied.

      2.     It is further ordered that defendant’s objections, Filing No. 390, are

overruled;




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       3.     The findings and recommendation of the magistrate judge, Filing No. 360,

is adopted in its entirety as to defendant Dionte Dortch.

       4.     Defendant’s motion to sever or strike, Filing No. 205, is denied;

       5.     Defendant’s objections, Filing No. 392, are overruled;

       6.     The court adopts and affirms the magistrate judge’s order, Filing No. 361.

       7.     The defendant’s motion for a bill of particulars, Filing No. 203, is denied;

       8.     Defendant’s objections, Filing No. 394, are denied;

       9.     The court adopts and affirms the magistrate judge’s order, Filing No. 362.



       Dated this 17th day of March, 2017.


                                                 BY THE COURT:

                                                 s/ Joseph F. Bataillon
                                                 Senior United States District Judge




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